                                                                                                                          Case 5:21-cv-00590-JLS Document 51-1 Filed 02/03/22 Page 1 of 3




From:                                                                                                                       Stan Caterbone <stancaterbone@gmail.com>
Sent:                                                                                                                       Thursday, February 3, 2022 12:46 PM
To:                                                                                                                         PAED Documents
Subject:                                                                                                                    Re: NEW FILING - THURSDAY February 3, 2022 U.S. District Court Case No. 21-cv-590JLS - Motion
                                                                                                                            For AMICUS BRIEF in the above captioned case Miguelina Peña v. City of Lancaster with The
                                                                                                                            Honorable Jeffrey L. Schmehl
Attachments:                                                                                                                THURSDAY February 3, 2022 U.S. District Court Case No. 21-cv-590JLS - Motion For AMICUS BRIEF in
                                                                                                                            the above captioned case Miguelina Peña v. City of Lancaster with The Honorable Jeffrey L.
                                                                                                                            Schmehl.pdf; 18091621-0--81198 Case No. 21-01169 Rhonda L. Fraction v. Jacklily, LLC.pdf



CAUTION - EXTERNAL:



Thursday February 3, 2022 12:43pm
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Dear Clerk,
No, the Lancaster City Police Hackers CHANGED THE ATTACHMENT. The
CORRECT ATTACHMENT IS AGAIN ATTACHED!
Here, this is what I just received today from you guys! It makes no sense!




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Stan J. Caterbone, Pro Se Litigant
Advanced Media Group
www.amgglobalentertainmentgroup.com
Linkedin Professional Networking Profile (click here)
Twitter for THE ADVANCED MEDIA GROUP


Notice and Disclaimer: Stan J. Caterbone and the Advanced Media Group have been slandered,
defamed, and publicly discredited since 1987 due to going public (Whistle Blower) with
allegations of misconduct and fraud within International Signal & Control, Plc. of Lancaster, Pa.
(ISC pleaded guilty to selling arms to Iraq via South Africa and a $1 Billion Fraud in 1992).
Unfortunately we are forced to defend our reputation and the truth without the aid of law
enforcement and the media, which would normally prosecute and expose public corruption. We
utilize our communications to thwart further libelous and malicious attacks on our person, our
property, and our business. We continue our fight for justice through the Courts, and some
communications are a means of protecting our rights to continue our pursuit of justice.
Advanced Media Group is also a member of the media. How long can Lancaster County and
                                                                                                                                                                 1
                 Case 5:21-cv-00590-JLS Document 51-1 Filed 02/03/22 Page 2 of 3
Lancaster City hide me and Continue to Cover-Up my Whistle Blowing of the ISC Scandel; the
Torture from U.S. Sponsored Mind Control; and the crimes of COINTELPRO Operations. Reply if
you wish to be removed from our Contact List.


On Thu, Feb 3, 2022 at 11:11 AM PAED Documents <paed_documents@paed.uscourts.gov> wrote:

Is this document for the Third Circuit? If so please direct the filing to them. This email address is strictly for filings in the
Eastern District of Pennsylvania.



Please advise.



Thank you.




From: Stan Caterbone <stancaterbone@gmail.com>
Sent: Thursday, February 3, 2022 10:51 AM
To: PAED Documents <paed_documents@paed.uscourts.gov>; Stan J. Caterbone <stancaterbone@gmail.com>
Subject: NEW FILING ‐ THURSDAY February 3, 2022 U.S. District Court Case No. 21‐cv‐590JLS ‐ Motion For AMICUS
BRIEF in the above captioned case Miguelina Peña v. City of Lancaster with The Honorable Jeffrey L. Schmehl




 CAUTION - EXTERNAL:




Thursday February 4, 2022 10:50




Dear Clerk, Please file the following:



THURSDAY February 3, 2022 U.S. District Court Case No. 21‐cv‐590JLS ‐ Motion For AMICUS BRIEF in the above
captioned case Miguelina Peña v. City of Lancaster with The Honorable Jeffrey L. Schmehl




                                                               2
                 Case 5:21-cv-00590-JLS Document 51-1 Filed 02/03/22 Page 3 of 3




Stan J. Caterbone, Pro Se Litigant

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member of the media. How long can Lancaster County and Lancaster City hide me and Continue to Cover-Up my Whistle
Blowing of the ISC Scandel; the Torture from U.S. Sponsored Mind Control; and the crimes of COINTELPRO Operations. Reply
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